Case 1:24-cv-00072-HYJ-SJB ECF No. 10, PagelD.53 Filed 02/02/24 Page1of1
AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)

SUMMONS IN A CIVIL ACTION
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

Brittany E. Martin

Vv.
Henn Lesperance PLC et al

FILED - GR

February 2, 2024 12:04 PM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

BY: KB SCANNED BY: J / 27-2 |

Case No. 1:24-cv-72
Hon. Hala Y. Jarbou

TO: Malgorzata Walker

ADDRESS: a/k/a Gosia Walker

32 Market Ave SW, Suite 400
Grand Rapids, MI 49503

A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve
upon plaintiff, an answer to the attached conplaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within

21 days after service of this sum mons on you (not
counting the day you received it). If y ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.

The Court has offices in the following locations:

399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
P.O. Box 698, 330 Federal Building, Marquette, MI 49855

107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007

113 Federal Building, 315 W. Allegan, Lansing, MI 48933

PLAINTIFF OR PLAINTIFF'S ATTORNEY NAME AND ADDRESS
Brittany E. Martin
23 College Ave. SE, Apt. 18
Grand Rapids, Ml 49503
(616) 822-9423
PRO SE

CLERK OF COURT

January 30, 2024

By. Deputy Clerk
PROOF OF SERVICE
This summons for co Mi Wgorzata Wal er was received by me on at
Ro on ap veg ite summons on oe individual at VHF C { th 06 d Da SE asst G fu ne Re pds, |
on @ a: oh (Piece where sdrved) 44506
(1 left the summons at the individual’s residence or usual place of abode with , a person

of suitable age and discretion who resides there, on

(name)

, and mailed a copy to the individual’s last known address.

(date)
[JI served the summons on , who is designated by law to accept service
(name of individual)
of process on behalf of on
(name of organization) (date)

(_]I returned the summons unexecuted because

other (specify)

My fees are $ LO PR for travel and $

i

816.7%

r services, for a total of $

I declare under the penalty of perjury that this information is true.
Date: eB | HY
T f

Additional information regarding attempted service, etc.:

Server's signature

Me Cec he gen Repu by WS, motshe|

Lu fuchsin Ch Ww

Server's printed name’ Nand tithe

Caanch Rep ul fr
W4on

server 5 Takiess
